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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


 OSCAR VALLE, ET. AL.                                     CIVIL ACTION NO. 3:17-cv-00274-
                                                          RLB
 VERSUS
                                                          JUDGE SHELLEY DICK
 BEAURAYNE BUILDERS, LLC, ET.
 AL.                                                      MAGISTRATE JUDGE RICHARD
                                                          L. BOURGEOIS




    MEMORANDUM IN SUPPORT OF JOINT MOTION TO SUBMIT PROPSOED
     SETTLEMETN AGREEMENT TO THE COURT FOR IN CAMERA REVIEW

The parties in this action have reached a proposed settlement of their claims and defenses and

contemporaneously with this motion, have filed a joint motion seeking the Court’s approval of the

proposed settlement and dismissal of this action with prejudice. The parties have executed a

confidential general release and settlement agreement (the “Agreement”), which will not be

effective unless and until it is approved by the Court.

       The parties request that the Court permit them to submit the Agreement to the Court for

in camera review. The parties believe that it is appropriate for the Court to depart from the

general policy of public filings due to the unique aspects of this case and the particular legal

arguments for a valid settlement of claims under the Fair Labor Standards Act (“FLSA”). In

accordance with precedent, a settlement involving claims of unpaid overtime under the FLSA

must be presented to an approved by the Court to be effective. 29 U.S.C. §216(c); Lynn’s Food

Stores, Inc. v. U.S. Dep’t of Labor, 679 F.2d 1350 (11th Cir. 1982); Camp v. Progressive Corp.,

2004 WL 2149079 (E.D. La. Sep. 23, 2004).
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       In this case, the Parties have carefully negotiated a settlement in this action in which the

confidentiality of the parties’ Agreement is an integral provision of the overall settlement (and,

thus, the disclosure of the Agreement to the public would deny Beaurayne Builders, LLC and

Eldridge Robert, Jr., (collectively the “Beaurayne Defendants”) the benefit of their bargain).

       Beaurayne insisted on a confidentiality request to the Court in this Case because they are

supremely concerned about their reputation and any negative inference that may be drawn by

entering into this Agreement. Moreover, Beaurayne maintains that has no liability in this case

and that it was never plaintiffs employer as contemplated by the FLSA.

       By allowing for in camera review of the Agreement, the Court can consider the settlement

for approval and still foster the policy of encouraging parties to resolve their disputes. Requests

for confidential review of settlement terms are common in FLSA settlements. Numerous federal

court judges in the Eleventh Circuit have permitted parties to FLSA settlements to submit

settlement agreements to the court for review without having to file the settlement agreements in

the public record.1 See, e.g., Northern District of Georgia: Jones and Bridgeforth v. FleetCor

Technologies Operating Company, LLC; Case No. 1:16-cv-01902-TCB (N.D. Ga. July 26, 2017)

(Batten, J.) (permitting in camera review of FLSA settlement and granting in camera review of

settlement); Yates v. Discrete Wireless, Inc. et al.; Case No. 1:15-cv-03549-ELR (N.D. Ga. April




   1
      The majority of decisions cited herein were issued by Florida district courts, as Florida sees
a disproportionately high number of FLSA lawsuits each year in comparison to other jurisdictions
across the country. See Bonetti v. Embarq Mgmt. Co., 715 F. Supp. 2d 1222, 1225 (M.D. Fla.
2009) (noting that “[a] Westlaw and LexisNexis search of FLSA case law reveals that a
surprisingly large number of the published and unpublished district court decisions regarding the
FLSA originate in [the Middle District of Florida]”); see also Jacqueline Bell, Florida, NY Top
List Of Busiest Courts For FLSA Suits, Law360 (May 2, 2015, 3:05 PM),
http://www.law360.com/articles/650465/florida-ny-top-list-of-busiest-courts-for-flsa-suits
(providing data on the number of lawsuits filed annually under the FLSA by jurisdiction and noting
that “Florida has long been an epicenter of FLSA litigation”).



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6, 2016) (Ross, J.) (finding good cause for permitting in camera review of FLSA settlement);

Roman v. The Home Depot, Case No. 1:12-cv-2355 (N.D. Ga. Dec. 14, 2012) (Forrester, J.)

(permitting in camera review of FLSA settlement agreement and granting joint motion to file

agreement under seal); Silvey v. Alfa Mutual Ins. Co., No. 09–C–164 (N.D. Ga. Sept. 8, 2010)

(permitting sealing of FLSA settlement agreement) (O’Kelley, J.); Southern District of Alabama:

Holt v. Waffle House, Inc., 06–CV–2 (S.D. Ala. Nov. 16, 2007) (Bivins, Mag. J.); Middle District

of Florida: Adams, et al v. Senior Home Care Inc., et al, Case No. 8:14-cv-2771 (M.D. Fla. Sept.

15, 2015) (Moody, J.) (order granting in camera review of FLSA settlement agreement); Davin v.

Camp Nebraska, Inc., Case No. 8:14-cv-00974 (M.D. Fla. Oct. 14, 2014) (Moody, J.) (same);

Jackson v. Lincare, Inc., Case No. 8:11-cv-02653 (M.D. Fla. Apr. 2, 2012) (Wilson, Mag.) (same);

Rojas v. MK Automotive, Inc., Case No. 11-cv-00798 (M.D. Fla. Dec. 20, 2011) (Kovachevich, J.)

(same); Doimeadios v. Jason’s Hauling, Inc., et al., Case No. 09-cv-1003 (M.D. Fla. July 9, 2010)

(Lazarra, J.) (same); King v. Wells Fargo Home Mortgage, No. 2:08-CV-307-FTM29SPC, 2009

WL 2370640, at *1 (M.D. Fla. July 30, 2009) (approving FLSA settlement agreement following

in camera review); Southern District of Florida: El Amir v. H&R Block Eastern Enterprises, Inc.,

Case No. 11-cv-21148 (S.D. Fla. Sept. 10, 2012) (Zloch, J.) (paperless order granting motion for

leave to submit settlement agreement to the court for in camera review); Riveron v. H&R Block

Eastern Enterprises, Inc., Case No. 11-cv-21156 (S.D. Fla. Aug. 4, 2012) (Simonton, Mag.) (order

granting motion for in camera review of FLSA settlement agreement); Prada v. H&R Block

Eastern Enterprises, Inc., Case No. 11-cv-20831 (S.D. Fla. Apr. 20, 2012) (Moore, J.) (paperless

notice of court practice upon notice of settlement); Singh v. H&R Block Eastern Enterprises, Inc.,

Case No. 11-cv-20954 (S.D. Fla. Apr. 10, 2012) (Scola, J.) (order granting in camera review of

FLSA settlement agreement); Nicholas v. H&R Block Eastern Enterprises, Inc., Case No. 11-cv-




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21144 (S.D. Fla. Apr. 3, 2012) (Martinez, J.) (same); Khan v. H&R Block Eastern Enterprises,

Inc., Case No. 11-cv-20217 (S.D. Fla. Dec. 7, 2011) (King, J.) (same); Cruz v. H&R Block Eastern

Enterprises, Inc., Case No. 11-cv-21036 (S.D. Fla. Nov. 18, 2011) (Jordan, J.) (same); Heredia v.

H&R Block Eastern Enterprises, Inc., Case No. 11-cv-20830 (S.D. Fla. Nov. 18, 2011) (Simonton,

Mag.) (same); Paul v. H&R Block Eastern Enterprises, Inc., Case No. 11-cv-21083 (S.D. Fla.

Nov. 18, 2011) (Simonton, Mag.) (same); Norris v. H&R Block Eastern Enterprises, Inc., Case

No. 11-20197 (S.D. Fla. Oct. 31, 2011) (Jordan, J.) (same); Hardemon v. H&R Block Eastern

Enterprises, Inc., Case No.: 11-cv-20193 (S.D. Fla. Sept. 22, 2011) (Moore, J.) (paperless notice

of court practice upon notice of settlement); Illano v. H&R Block Eastern Enterprises, Inc., Case

No: 09-22531 (S.D. Fla. Sept. 21, 2011) (McAliley, Mag.) (order granting motion to seal

settlement agreement, finding the existence of other FLSA lawsuits against the company “good

cause” for sealing the individual settlement); Descrescente v. H&R Block Eastern Enterprises,

Inc., Case No. 11-20198 (S.D. Fla. Aug. 15, 2011) (Ungaro, J.) (order granting in camera review

of FLSA settlement agreement); Greene v. H&R Block Eastern Enterprises, Inc., Case No. 1:11-

cv-20190 (S.D. Fla. July 28, 2011) (Goodman, Mag.) (same); Northern District of Florida: Krpata

v. Kasco Servs. Corp., Case No. 4:13-cv-427 (N.D. Fla. Feb. 11, 2014) (Walker, J.) (same).

       Other district courts around the country have similarly have permitted FLSA settlement

agreements to be reviewed in camera or filed under seal, including where other FLSA collective

actions remained pending against the defendant. See, e.g., Second Circuit: Suda v. Sushiden Corp.,

No. 10 Civ. 5692(JGK), 2011 WL 1210206 (S.D.N.Y. March 23, 2011) (applying balancing test

in United States v. Amodeo, 71 F.3d 1044, 1050-52 (2d Cir. 1995), to an FLSA settlement and

finding a sufficient showing to redact the amount of settlement payments from the settlement

agreement filed publicly and permitting the parties to file the un-redacted settlement agreement




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under seal); Seventh Circuit: Swarthout v. Ryla Teleservices, Inc., No. 4:11-CV-21-PRC, 2012

WL 5361756, at *3 (N.D. Ind. Oct. 30, 2012) (granting motion to file FLSA collective action

settlement agreement under seal, where the defendant was in the process of resolving multiple

pending FLSA lawsuits and confidentiality was a material term of the parties’ settlement

agreement); Eighth Circuit: Williams v. BPV Mkt. Place Inv'rs, L.L.C., No. 4:14-CV-1047 CAS,

2014 WL 5017934, at *2 (E.D. Mo. Oct. 7, 2014) (allowing FLSA settlement agreements

containing confidentiality provisions to remain under seal); Ninth Circuit: Trinh v. JPMorgan

Chase & Co., No. 07-CV-01666W(WMC), 2009 WL 532556, at *1 (S.D. Cal. Mar. 3, 2009)

(approving FLSA settlement agreement following in camera review).

       By allowing for in camera review of the Agreement in this case, the Court will “secure the

just, speeding, and inexpensive determination” of this action. FRCP Rule 1. This motion is

accompanied by a Proposed Order.

                                        CONCLUSION

       Based on the foregoing, the parties respectfully request that the Court review the

settlement agreement in camera so that it can remain confidential without becoming a public

record in the Court’s record.

                                              Respectfully submitted,

                                              PHELPS DUNBAR LLP



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                                               -and-

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                                 CERTIFICATE OF SERVICE

       I certify the foregoing was filed using the CM/ECF system, which will automatically send

email notification of such filings to all counsel of record.



                      ____________/s/ Michael B. Victorian____________




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